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                           UNITED STATES BANKRUPTCY COURT
                                  Middle District of Florida
                                     Orlando Division


                                                         Case No.      6:12-bk-12298-CCJ
   Paul Derek Sheppard

                                                         Chapter 13
                                     Debtor


                                    Report of Unclaimed Funds


        COMES NOW, Laurie K. Weatherford, Trustee, and respectfully shows that, pursuant to
orders dismissing cases, orders of conversion, and orders of distribution, as shown below, she has
made distribution of all monies received. All checks have cleared with the exception of the following:


     Check Nbr.               Amount                   Claimant Name & Address



      1607162                  $375.51                 Msw Capital Llc, C/O Jorge Palma, Esquire,
                                                       701 Sw 27Th AveSUITE 900, Miami, FL
                                                       33135
      1607162                $9,337.18                 Nationstar Mortgage, Llc, Bankruptcy
                                                       Department, 350 Highland Drive, Lewisville,
                                                       TX 75067


          1. That the distribution mailed to the above-listed claimants at the address listed above has
 either been returned by the United States Postal Service marked "Forwarding Time Expired/Unable
 to Forward" or the Trustee has stopped payment on all outstanding checks.
          2. Those checks which were undeliverable by the United States Postal Service are in the
 Trustee's files.
          3. Pursuant to the provisions of 11 U.S.C., Section 347, these funds are now being turned
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over to the Court.
        4. That the Trustee has attached hereto funds totaling $9,712.69 for this case, which is
payable to Clerk, U.S. Bankruptcy Court/Court Registry.
        5. That the Claimant which is entitled to these funds is listed above at their address as
listed in the Court's records.
        6. A copy of this notice and the original check has been sent to the U.S. Bankruptcy
Court, c/o Financial Administrator, 801 North Florida Ave., Suite 727, Tampa, FL 33602-3899.




   Respectfully submitted on this 5th day of January, 2018.



                                                              /S/ Laurie K. Weatherford
                                                              Chapter 13 Trustee
                                                              Stuart Ferderer
                                                              FL Bar No. 0746967
                                                              Ana DeVilliers
                                                              FL Bar No. 0123201
                                                              Attorney for Trustee
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